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AFFIDAVIT OF PATRICK PICCIANO

I have been a Special Agent employed by the Drug Enforcement Administration (DEA)
since 2002, and I was employed as a police officer in two different jurisdictions for 10 years
prior to joining DEA. As a DEA Special Agent, I have assisted in numerous investigations into
persons and activities involved with international drug trafficking and money laundering. My
duties include investigations into potential violations of these and other criminal statutes through
collection of evidence and the development of sources of information and evidence. As such, I
have handled and worked with a number of persons deemed by my agency to be a “Confidential
Source” (“hereinafter “CS”), each of whom provided information to me directly regarding
subjects of interest to my investigations or those of my colleagues. Many of these sources live or
work overseas, and a number focus on providing information regarding potential violations of
U.S. law in Africa. Specifically, the DEA has cultivated reliable sources who are in a position
to acquire and report information concerning Kassim Tajideen, including his associates and
activities in Lebanon, Africa, and elsewhere.

I] make these representations based on my own personal knowledge and familiarity with
the investigation of Kassim Tajideen, as well as information provided to me by other members of
law enforcement. Further, the representations herein are made in response to the Court’s request
and therefore this affidavit does not include the full extent of my knowledge of the investigation
of Kassim Tajideen, rather, this affidavit is solely for the purpose of responding to the Court’s
limited request.

Sometime in March of 2017, I became aware that Kassim Tajideen had been detained by
Moroccan authorities in response to charges filed by the United States. Thereafter, I asked my
CSs to collect any information available to them related to Tajideen’s apprehension, detention,
and ongoing business dealings in Africa.

In response, during March 2017, one CS in particular (hereinafter “CS-1”), who does not
speak English, but who can communicate well with me through an interpreter, told me that CS-1
had specific information regarding a $20 million dollar reward being offered by persons in the
Lebanese community in Kinshasa, DRC, for anyone that could secure Tajideen’s release from
jail in Morocco, and that individuals in Kinshasa were, in fact, in contact with Moroccan officials
regarding this reward offer. CS-1 further relayed that the persons offering the reward were
reaching out to sheiks or other high-ranking officials that support Lebanon in other countries.

CS-1 continued to provide me with information regarding Tajideen for a period of
months thereafter. In May 2017, after Tajideen’s extradition to the United States, CS-1indicated
a specific person in the Lebanese business community, whom CS-1 named, but whose name is
omitted here to protect the person’s identity, had met with others on a date certain, which CS-1
specified. The purpose of the meeting was to discuss raising a large amount of money to arrange
the release of Tajideen from a U.S. jail. Some days later, CS-1 relayed that the same person and
another person, whom CS-1 also named, had been able to raise $10 million dollars in a very
short period in support of Tajideen’s release.

 
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At that time, CS-1 was well-connected to the Lebanese community in the area where CS-
1 lived, and also had connections to various government officials. I worked with CS-1 for
approximately one year. During that time, my colleagues and I were able to corroborate various
pieces of information provided by CS-1. At no time did I have reason to doubt CS-1’s veracity.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on February ¥ 2018

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Patrick Picclano
Special Agent, DEA

 

 

 
